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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



ELECTRONIC PRIVACY                  )
     INFORMATION CENTER,            )
                                    )                       Case No. 1:13-cv-01961-KBJ
      Plaintiff,                    )
                                    )
      v.                            )
                                    )
UNITED STATES                       )
      DEPARTMENT OF JUSTICE,        )
                                    )
      Defendant.                    )
____________________________________)

  NOTICE OF LODGING OF DOCUMENTS FOR IN CAMERA REVIEW WITH THE
             CLASSIFIED INFORMATION SECURITY OFFICER

       Defendant, the United States Department of Justice, respectfully notifies the Court that

the documents required for in camera review have been lodged with the Classified Information

Security Officer. These documents include unredacted copies of the Semiannual Reports

(“SARs”) and Document 68 in full. The documents also include “read through” versions of the

individual pages from within the SARs that contain the remaining challenged withholdings,

which are highlighted and marked. Finally, the documents include the classified supplemental

declarations of the Federal Bureau of Investigation and National Security Agency.

Dated March 18, 2016                        Respectfully submitted,

                                            BENJAMIN C. MIZER
                                            Principal Deputy Assistant Attorney General

                                            ELIZABETH J. SHAPIRO
                                            Deputy Branch Director

                                            /s/ Caroline J. Anderson
                                            CAROLINE J. ANDERSON
                                            Trial Counsel
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